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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI

SOUTHERN DIVISION
MARGUERITE CARRUBBA . PLAINTIFF
. VERSUS CAUSE NO.: 1:07cv1238-LG-RHW
HARRISON COUNTY, MISSISSIPPI, ET AL. DEFENDANTS
GOOD FAITH CERTIFICATE

All counsel in this case hereby certify that they have conferred in good faith in an effort
to resolve the issues in question and it is necessary to file.a motion.entitled:
MOTION TO COMPEL EXPERT DEPOSITIONS

Counsel further certify:
_(1) The filed motion is unopposed by all parties.
__(2) The filed motion is unopposed by_ .
3) The filed motion is opposed by eka ht. ¢ Georg Feugpe Fe Te,
=) The parties agree that the reply and rebuttal to the filed motion shall be submitted

to the Magistrate Judge in accordance with the time limitations set forth in Uniform Local
Rule 7.2.

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This 4° day of September, 2009.

PATRICK R. BUCHANAN, (MSB # 8439)
MARK V. WATTS (MSB # 102204)
Attorney For Plaintiff

JOE GEWIN
HALEY BROOM
Attorneys for Defendant

EXHIBIT

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